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                       IN THE UNITED STATES DISTRICT COURT
                                   FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

United States of America

Plaintiff(s),

v.                                             Case No. 19-cr-474
                                               Judge Robert M. Dow
Yale Schiff

Defendant(s).
                                       ORDER

Telephone conference held and continued to 6/22/2022 at 9:00 a.m. Participants
should use the Court's toll-free, call-in number 877-336-1829, passcode is
6963747. Joint status report is due by 6/17/2022. Without objection, time is
excluded through 6/22/2022 under the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A)
based on the Court's finding that the ends of justice served by the exclusion of time
outweigh the interests of the parties and the public in a speedy trial given the need
to protect the health and safety of defendants, defense counsel, prosecutors, court
staff, and the public by reducing the number of in-person hearings to the greatest
extent possible, as well as the ongoing plea discussions. X-T
:05




Date: 5/23/2022                               /s/ Judge Dow
